          Case 4:04-cr-00117-SWW Document 215 Filed 05/31/07 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                        NO. 4:04CR00117-001 SWW

PATRICK WIMBLEY




                                           ORDER

      The above entitled cause came on for hearing on petition to revoke

the supervised release previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.                     Upon the

basis of admissions by defendant, the Court found that defendant has

violated the conditions of his supervised release without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the government’s motion1

is granted, and the supervised release previously granted this defendant

in the above matter hereby is revoked.

      IT     IS      FURTHER   ORDERED   that   defendant   shall   serve   a   term   of

imprisonment of EIGHT (8) MONTHS in the custody of the Bureau of Prisons.

 The Court recommends that defendant participate in the non-residential

substance abuse treatment program during incarceration.

      Upon release from imprisonment, defendant shall serve a term of

THREE (3) YEARS of supervised release, less the term of imprisonment,

to be on the same terms and conditions as previously ordered in this

matter. In addition, defendant shall be subject to drug testing and shall



      1
       Docs. #194.
      Case 4:04-cr-00117-SWW Document 215 Filed 05/31/07 Page 2 of 2



participate, under the guidance and supervision of the U. S. Probation

Office, in a substance abuse treatment program which may include testing,

out-patient counseling, and/or residential treatment. Further, defendant

shall abstain from the use of alcohol throughout the course of any

treatment.

     The balance of the restitution previously imposed in the amount of

$38,049.15   is   mandatory   and   remains   due   and   payable.   During   his

incarceration, defendant shall pay 50 percent per month of all funds that

are available to him on the restitution owed.              During his term in

community confinement and supervised release, payments will be reduced

to 10 percent per month of defendant’s gross monthly income.                  The

interest requirement is waived.

     All other terms and conditions of supervised release previously

imposed shall remain in full force and effect.

     Defendant is remanded to the custody of the United States Marshal

to begin service of the sentence imposed.

     IT IS SO ORDERED this 31st day of May, 2007.


                                          /s/Susan Webber Wright

                                          UNITED STATES DISTRICT JUDGE
